Case 2:11-cv-00471-MHT-CSC Document 37 Filed 09/16/11 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF ALABAMA

NORTHERN DIVISION
LATARA WYNN, )
Plaintiff, )
)
Vv. ) Civil Action No.: 2:11-CV-471
)
WELLS FARGO BANK f/k/a )
WACHOVIA BANK, a foreign )
corporation, et al., )
Defendants. )

NOTICE OF SETTLEMENT WITH FARMERS FURNITURE
COMES NOW the Plaintiff, by and through undersigned counsel and files this Notice of
Settlement with Farmers Furniture to this Honorable Court. This notice of Settlement with
Farmers Furniture will be followed by a Voluntary Dismissal once the Settlement Agreement has
been signed by both parties.

RESPECTFULLY SUBMITTED this the 16" day of September, 2011.

/s/__Bradford_J_ Griffin
Bradford J. Griffin (GRI083)
Attorney for Plaintiff
VICKERS & WHITE, PLLC
428 South Lawrence Street
Montgomery, AL 36104
Telephone: (334) 269-1192
Facsimile: (334) 239-7408
beriffin@vickersandwhitelaw.com

CERTIFICATE OF SERVICE

I hereby certify that on September 16, 2011 I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filings to the

following:
Case 2:11-cv-00471-MHT-CSC Document 37 Filed 09/16/11 Page 2 of 2

S. Anthony Higgins

Floyd R. Gilliland, Jr.

HOLTSFORD GILLILAND HIGGINS HITSON & HOWARD, P.C.
P.O. Box 4128

Montgomery, Alabama 36103

Hometown Credit

c/o Becky T. Prescott
199 Southland Village #F
Troy, Alabama 36079

/s/ Bradford J. Griffin
Bradford J. Griffin
